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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.                            Crim. No. 18-CR-32-2 (DLF)

 CONCORD MANAGEMENT AND
 CONSULTING LLC,                             Under Seal

                Defendant.



    GOVERNMENT’S MOTION FOR LEAVE TO FILE PARTIALLY UNDER SEAL

       The United States of America, by and through undersigned counsel, respectfully moves for

leave to file partially under seal an unredacted version of the Government’s Motion for an Order

to Show Cause Why Concord Should Not Be Held in Civil Contempt, along with its four exhibits.

In support of its position, the government states as follows.

       In limited instances, the motion refers to information produced in discovery but protected

from disclosure pursuant to the Revised Protective Order. To protect this information, the

Government seeks leave to redact these portions of the motion in the publically-filed version of

the motion and to file an unredacted version of the motion, attached to this motion along with its

exhibits, under seal.

       The Court has the inherent power to seal court filings when appropriate. United States v.

Hubbard, 650 F.2d 293, 315-16 (D.C. Cir. 1980) (citing Nixon v. Warner Communications, Inc.,

435 U.S. 589, 598 (1978)). Such sealing is within the discretion of the Court. See Nixon, 435

U.S. at 598 (common-law right to inspect and copy judicial records is not absolute, and the

decision whether to permit access is best left to the sound discretion of the trial court in the light

of the relevant facts and circumstances of the particular case).
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       If the Court grants this motion, the Government will promptly file a redacted version of

the motion and its exhibits on the public docket. The Government does not object to the

unsealing of this motion once the Court rules on the motion; however, the Government requests

that the unredacted version of the Motion for an Order to Show Cause Why Concord Should Not

Be Held in Civil Contempt, along with its exhibits, remain under seal. Accompanying this

motion is a proposed order.

       Respectfully submitted,


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                                                           D.C. Bar No. 437437

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